                    EXHIBIT 14


Letter fro111 For111er GPD Chief,
                Mark Holtz111an




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500 S. Greene Street
Greenville, NC 27834
                                   Greenville
                                   NORIII     (/\ROLIN/\
                                                                            Mark Holtzman
                                                                            Chief of Police
                                   POLICE DEPARTMENT


December 7, 2015



Mrs. Cynthia Avens


Dear Mrs. Avens :

I recently received a communication from Dawn Barone regarding your daughter's case.
Captain Rob Williams has briefed me on the incident involving your daughter. Please
permit me to express my sorrow for the loss of your daughter.

As I understand it, our police department was asked to review the matter. Detective
Alvaro Elias of the Criminal Investigations Bureau was assigned to review all of the
documentation that you were able to provide. Moreover, Detective Elias reviewed all of
the available materials with both the State Bureau of Investigation and the Pitt County
District Attorney's Office.    Lastly, the North Carolina Office of the Chief Medical
Examiner was requested to conduct an additional review.

After a thorough review of the materials, it was determined by all of the agencies
involved that this was not a criminal matter and there was no basis to pursue a criminal
prosecution. On September 2, 2015, Captain Williams spoke with you by telephone and
advised you of this finding. He also advised you that your remaining option would be to
pursue recourse through civil action .

Based on all of the information available, it is clear that a thorough review of the facts
that this matter has been conducted by several law enforcement agencies and each
review resulted in a finding that this was not a criminal matter. As such, the Greenville
Police Department has concluded its review.

If I may provide further assistance, do not hesitate to contact me.

Sincerely,
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Mark Holtzman
Chief of Police




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